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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     3/2/2021
  UNITED STATES OF AMERICA,

                         Plaintiff,                                    ORDER

                  –v–                                               19-cr-0486 (ER)

  DONALD BLAKSTAD,

                         Defendant.

Ramos, D.J.:

       The Southern District of New York has reconfigured courtrooms and other spaces in its

courthouses to allow civil jury trials to proceed as safely as possible during the COVID-19

pandemic. Under the centralized calendaring system currently in place, the Clerk’s Office

schedules up to three jury trials to begin on each day of jury selection: a primary case and up to

two back-up cases that may proceed in its place if the primary case does not go forward.

       At the November 10, 2020 status conference, trial was scheduled for June 21, 2021. The

Court accordingly requested a jury trial for that date and the Clerk’s Office has now notified the

Court that this case has been placed on the jury trial list for June 14, 2021. The case must be

trial-ready for that date. The case is second on the list for jury trials for that day. This means

that the case will not proceed on June 14, 2021, if the first trial scheduled for that date goes

forward. If the case cannot proceed on the scheduled date, the Court will seek another jury trial

date for as soon as possible thereafter. As soon as the Court confirms that the matter will

proceed on June 14, 2021, it will inform the parties.

       The previously entered pretrial schedule is revised as follows:

            x   Motions in limine and proposed voir dire, jury instructions and verdict sheets are

                due May 17, 2021.
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     x   Oppositions thereto are due May 31, 2021.

     x   A final pretrial conference will be held on June 10, 2021 at 2:00 p.m.

 SO ORDERED.

Dated: March 2, 2021
       New York, New York
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                                                    Edgardo Ramos
                                                            Ramos,   U.S.D.J.
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